                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,

         v.
                                                           No. 24-cr-287 (DLF)
 NATHANIEL LAMAR NELSON SCOTT,

                 Defendant.


                            MEMORANDUM OPINION &amp; ORDER

       Before the Court is the government’s Motion to Review the Release Order of Nathaniel

Lamar Nelson Scott (“Gov’t. Mot. for Review”). Dkt. 12. Scott is charged by indictment with

traveling across state lines with intent to engage in illicit sexual conduct with a six-year-old girl,

in violation of 18 U.S.C. § 2423(b). Dkt. 5. On July 8, 2024, the Magistrate Judge ordered Scott

released pending trial, and imposed release conditions including 24/7 home confinement under his

mother’s custody, a ban on all internet-connective devices, and home visits by Pretrial Services.

See Minute Order of July 10, 2024. The Magistrate Judge also stayed his order pending appeal.

Id. The government appeals, arguing that Scott poses an unmitigable risk to community safety.

Gov’t. Mot. for Review at 1–2; see 18 U.S.C. § 3142(e). Based on the entire record, including the

evidence and arguments presented at the June 10, June 27, and July 8 hearings before the

Magistrate Judge, as well as during the July 17 hearing before the Court, the Court will grant the

government’s motion and order Scott detained pending trial.

I.     BACKGROUND

       A.      Factual Background

       In May of 2024, Scott met an FBI undercover agent on a fetish website, in a forum

dedicated to connecting users interested in communicating over certain end-to-end encrypted
messaging applications. See Government’s Mem. in Support of Pretrial Detention (“Gov’t.

Detention Mem.”) at 2, Dkt. 4. The agent had made public posts on the fetish site, referring to

himself as a “kinky daddy” and stating that he was looking for “very open-minded people” to

explore similar interests. Id. at 2. After Scott sent the agent a direct message asking “So what are

you looking to do with a perverse Daddy ?,” the agent provided Scott with his username on an

end-to-end encrypted application that was only viewable by chat participants. Id. at n.1.

       From May 25 through June 5, 2024, Scott and the agent repeatedly messaged through the

encrypted application and discussed the sexual abuse of prepubescent children. Id. at 4, 6. The

agent represented that he had a six-year-old daughter, whom he was actively sexually abusing:

       SCOTT: And I like em young
       AGENT: Mine is 6 [SCOTT reacted with a heart symbol]
       SCOTT: That’s the perfect age
       AGENT: Yes
       SCOTT: 6 is one of my fav numbers
       SCOTT: I seen Half that
       SCOTT: I had a few young sluts I groomed
       SCOTT: But never been lucky enough to play irl
       SCOTT: Just hoping one day I can find a p[e]do mommy or p[e]do daddy that will let
       me play with them or have my own 1 day

Id. at 3–4. Scott asked the agent a series of questions about the purported abuse, including the

nature and extent of the sexual acts, details about the agent’s daughter’s body type and genitals,

whether she was still a virgin, and whether the agent had ever let “someone else play” with her.

Id. at 6–7. During these conversations, the agent sent Scott photos, including of a penis next to a

pair of child-sized underwear and of his purported daughter with her shirt raised. Id. at 8. Scott

told the agent that he had only had one in-person encounter with a child. He claimed he had

recently molested an eight-year-old girl—“just took a risk and tickled her” and “touched her all

over”—during a game of hide-and-seek. Id. at 8. Scott expressed interest in having an existing

abuser teach him the ropes, stating: “[I]t would be hot for a mommy or daddy like you to kind of



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groom me in a sense to be more and more depraved. I’m cautious about it still, but taking to you

is very seducing and exciting.” Id. at 7. Law enforcement identified Scott through information

provided by the fetish website, including two Google email addresses, a verified telephone number

with a (443) Maryland area code, and a date of birth of July 15, 1988, later determined to be Scott’s.

Statement of Facts at 8, Dkt. 2-1.

       On the morning of June 5, 2024, the agent messaged Scott that his daughter would be with

him later that day. Gov’t. Detention Mem. at 7. Scott and the agent discussed meeting up that

evening so that Scott could participate in abuse of the child. Id. Scott expressed hesitation and

concerns about being caught, but reassured the agent he would not back out:

       AGENT: But again, It sounds like your either skeptical or u[n]sure of what u would want
       to do, so I don’t know. I went through it with the last guy. His suggestion was to meet at
       a public place close to my apartment and have me FaceTime her with him next to me
       with her pulling her shirt up or taking her pants off

       SCOTT: When [you] say unsure, like you mean what I want to do in person or what?

       AGENT: Yes

       SCOTT: Like you, I don’t want to get caught of[ course] so yeah I’m cautious and
       nervous about that but I was also just trying to be respectful and not “pushy” but maybe
       I’m fucking up lol

       AGENT: lol I understand

       SCOTT: Yes if we are in person I’d want to introduce and maybe tickle her and grip her
       and molest her and kiss her then watch you too a bit then get comfy and lick her and rub
       my tip with you there to encourage me to embrace it and hope she has fun

       AGENT: Mmmm that would make me so hard

       SCOTT: Yeah, so that’s what I want

       SCOTT: There, no more hesitation or indecisiveness

Id.at 7–8.




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        After Scott and the agent decided to meet at a bar in Northwest Washington, D.C., near the

agent’s purported apartment, Scott drove from his residence in Maryland into D.C. Id. at 8. At

approximately 6:59 p.m., Scott entered the bar, stopped in the bathroom, and then approached the

agent to introduce himself and order beers for the two of them. Id. After a brief conversation, the

agent told Scott that they needed to head back to the apartment because his six-year-old daughter

was home alone. Id. Scott acknowledged the agent’s concern, paid the tab, and followed the agent

out of the bar. Id. Upon exiting, Scott was arrested for traveling interstate to engage in illicit sexual

conduct with a minor. Id.
        After waiving his Miranda rights, Scott admitted that he had met a man (whom he still did

not know was an undercover agent) through a fetish website and that he had messaged him through

a third-party encrypted application. Scott also admitted that he had driven from Maryland to the

District of Columbia to meet the man. Id. at 9. Although he denied knowing the age of the child

he was going to meet, he stated that he knew that the child was “probably too young to be left

home alone.” Id. When confronted with the evidence supporting the charged offense, Scott denied

committing the offense. He also offered multiple contradictory explanations for his actions: that

he was interested in age-based role play and meeting others with similar sexual fantasies; that he

was “concerned” about the undercover’s fictional six-year-old; and that he had changed his mind

during the conversation and intended to leave upon exiting the bar. Id.
        B.      Procedural History

        After his June 5 arrest, Scott appeared before the Magistrate Judge the following day on a

criminal complaint, Dkt. 1. See Minute Order of June 6, 2024. At that time, the government

moved to detain Scott pending trial, arguing that he posed unmitigable risks to community safety.




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Gov’t. Detention Mem. at 12; see 18 U.S.C. § 3142(e), (g). The Magistrate Judge held three

separate hearings on the government’s motion.

        At the initial detention hearing on June 10, the defense proposed that Scott be released to

home confinement at his parents’ residents in Bowie, Maryland. See Gov’t. Mot. for Review at

11. The government opposed, raising concerns that Scott had been living in his parents’ home at

the time of his offense; that internet devices would be potentially accessible; and that D.C. Pretrial

Services does not do home visits to ensure compliance with release conditions. Id. Pretrial

Services indicated that Scott would need to live more than 50 miles from D.C. in order for another

District to assume courtesy supervision and perform home visits. Id. Relying on United States v.

Willis, No. 22-MJ-122—a child sex abuse case in which then-Chief Judge Howell released a

defendant to 24/7 home confinement, coupled with an internet ban and home visits by a Pretrial

Officer—the Magistrate Judge indicated he would be open to releasing Scott under similar

conditions.

        On June 27, at the second detention hearing, the defense presented a list of several

apartment units located more than 50 miles from D.C. where Scott could serve home confinement

with an internet ban and home visits by a Pretrial Officer. Id. The Magistrate Judge found that an

apartment community was inappropriate, because of the likely presence of children and of open

Wi-Fi connections. He gave the defense until July 8 to identify a more isolated residence.

        On July 8, the defense presented its final proposed release conditions patterned after Willis.

The defense offered a list of six single-family rental properties located in isolated parts of Virginia,

Maryland, and Pennsylvania. Scott’s mother testified that she was prepared to quit her part-time

job, rent an isolated property, and supervise Scott full-time. The Magistrate Judge ordered Scott

released pending trial and imposed conditions of release mirroring Willis, including “no visitors of




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any kind, no internet connected devices, no internet connection at all, and that [Scott’s mother]

would conduct daily searches of the resident and defendant to ensure that there was no

contraband.” See Minute Order of July 10, 2024; Proposed Order Setting Conditions of Release,

Dkt. 11. The government orally moved for a stay pending appeal, which the Magistrate Judge

granted. See Minute Order of July 10, 2024.

       This Court held a hearing on the government’s appeal on July 17, 2024. At that hearing,

the government entered into evidence exhibits of the end-to-end encrypted messages between Scott

and the agent, as well as a video of Scott’s post-arrest custodial interview. See July 17, 2024

Hearing Tr. at 26:4–6 (admission of exhibits). Scott’s mother again testified in-person. She

reiterated that she was willing to stop her part-time job, rent an isolated property over 50 miles

from D.C., obtain a lockbox for her phone and guarantee the absence of other internet-connective

devices, and supervise her son on a round-the-clock basis. She explained that she would take

seriously her obligation to report violations and that the defendant’s stepfather—an IT employee

for the Department of Justice—could intermittently take over supervision should she need to leave

the property. The defense asked the Court for additional time to submit a supplemental brief,

which counsel filed on August 7, 2024. See Dkt. 15.

II.    LEGAL STANDARD

       The Bail Reform Act “provides that a judge ‘shall order’ the ‘detention of the [defendant]

before trial,’ if after a detention hearing . . . and consideration of ‘the available information

concerning’ enumerated factors, . . . ‘the judicial officer finds that no condition or combination of

conditions will reasonably assure the appearance of the person as required and the safety of any

other person and the community.” United States v. Howard, 20-mag-181, 2020 WL 5642288, at

*2 (D.D.C. Sept. 21, 2020) (quoting 18 U.S.C. §§ 3142(e)(1), (f), and (g)). “Even if [the] defendant




                                                 6
does not pose a flight risk, danger to the community alone is a sufficient reason to order pretrial

detention.” United States v. Lee, 195 F. Supp. 3d 120, 124 (D.D.C. 2016). In determining whether

any combination of conditions will assure the safety of the community, the Court must consider

four statutory factors: (1) “the nature and circumstances of the offense charged,” (2) “the weight

of the evidence against the person,” (3) “the history and characteristics of the person,” and (4) “the

nature and seriousness of the danger to any person or the community that would be posed by the

person’s release.” 18 U.S.C. § 3142(g).

       The Court applies a de novo standard of review when evaluating a magistrate judge’s

detention order, see United States v. Henry, 280 F. Supp. 3d 125, 128 (D.D.C. 2017), and it “is

free to use in its analysis any evidence or reasons relied on by the magistrate judge” as well as

“hear additional evidence and rely on its own reasons,” United States v. Hubbard, 962 F. Supp. 2d

212, 215 (D.D.C. 2013) (quoting United States v. Sheffield, 799 F. Supp. 2d 18, 18–19 (D.D.C.

2011)). The government bears the burden of proving by “clear and convincing evidence” that a

defendant’s dangerousness warrants pretrial detention. United States v. Simpkins, 826 F.2d 94, 96

(D.C. Cir. 1987). But Congress has specified that for certain offenses involving a minor victim,

including the charge here, “it shall be presumed that no condition or combination of conditions

will reasonably assure the appearance of the person as required and the safety of the community.”

18 U.S.C. § 3142(e)(3)(E). The presumption of detention “operate[s] at a minimum to impose a

burden of production on the defendant to offer some credible evidence contrary to the statutory

presumption.” United States v. Alatishe, 768 F.2d 364, 371 (D.C. Cir. 1985). If a defendant

produces credible evidence, the presumption still “remains as a factor to be considered by the Court

amongst others in determining whether the defendant should be detained.” United States v. Ali,

793 F. Supp. 2d 386, 388 (D.D.C. 2011). Although the presumption shifts the burden of production




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to the defendant, the government still bears the ultimate statutory burden of persuasion, “which is

consistent with the presumption of innocence.” United States v. Breeden, 2015 WL 13310427
(D.D.C. Nov. 16, 2015) (citing United States v. Portes, 786 F.2d 758, 764 (7th Cir. 1985)). The

presentation of hearsay evidence is permitted, and the parties may proceed by proffer. See United

States v. Smith, 79 F.3d 1208, 1210 (D.C. Cir. 1996).

III.      ANALYSIS

          Due to the charged offense, see 18 U.S.C. § 2423(b), Scott is presumptively dangerous

under § 3142(e)(3)(E) of the Bail Reform Act. The record establishes—and Scott does not

dispute—there is probable cause to believe that he intended to meet up with an undercover agent

to sexually abuse a purported six-year-old girl, and that he traveled across state lines to do so. See

Statement of Facts at 7. Considering the seriousness of Scott’s conduct and the lack of mitigating

circumstances, the Court finds that Scott has not rebutted the presumption of dangerousness.

Weighing all of the § 3142(g) factors, the Court concludes that Scott poses an unmitigable risk to

community safety and must be detained.

       1. The Nature and Circumstances of the Offense

          The nature and circumstances of the offense weigh heavily in favor of Scott’s detention.

The charged offense is extremely serious, as reflected in both the presumption of detention applied

to the offense, see 18 U.S.C. § 3142(e)(3), and the statutory maximum sentence of up to 30 years’

imprisonment, id. § 2423(b); see United States v. Johnston, No. 17-MJ-46, 2017 WL 4326390, at

*4 (D.D.C. Sept. 28, 2017) (30-year statutory maximum for § 2423(b) violation reflects

seriousness of the offense).

          The alleged facts of the offense conduct are aggravated as Scott took numerous concrete

steps—including driving his vehicle from Maryland into D.C. and following an undercover agent




                                                  8
out of a bar to go to the agent’s purported residence—in order to sexually abuse a prepubescent

child. Scott’s travel across state lines makes this case markedly distinguishable from child sex

abuse cases involving purely digital acts. See United States v. Breeden, No. 15-MJ-506, 2015 WL

13310427, at *7 (D.D.C. Nov. 16, 2015) (“[T]he fact that this is a travel case distinguishes it from

every other case provided by the defense in which release was granted.”); United States v. Dhavale,

2020 WL 1935544, at *1 (D.D.C. Apr. 21, 2020) (finding § 3142(g) factors satisfied where

defendant actually traveled across state lines intending to have sex with a 13-year-old girl); United

States v. Hoppe, 2024 WL 1990452, at *3 (D.D.C. May 6, 2024) (finding pretrial detention

warranted because of “the detailed plans [the defendant] made, and the concrete steps she took” in

traveling to Virginia to sexually abuse an eight-year-old).

       Adding to the seriousness of the offense is the intended victim’s young age. When the

undercover agent informed Scott through encrypted message that his purported daughter was only

six years old, Scott responded by saying “That’s the perfect age.”           Scott’s messages also

demonstrated a clear intent to follow through with a sexual encounter with the young child. For

example, he stated that he had recently molested an eight-year-old girl, and he described in detail

how he intended to “molest” the agent’s daughter; he even added that there was “no more hesitation

or indecisiveness.” Both the severity and specific circumstances of Scott’s offense weigh heavily

in favor of detention.

   2. The Weight of the Evidence

       The weight of the evidence is strong.         Where, as here, “the government possesses

overwhelming evidence that the defendant is guilty of the crime charged—and the nature of the

charged offense involves a danger to the community—then the second factor will help meet the

government’s burden of persuasion.” United States v. Taylor, 289 F. Supp. 3d 55, 66 (D.D.C.




                                                 9
2018). As described above, the FBI identified through multiple corroborating sources, including

email addresses and a verified phone number, that Scott was the individual sending messages to

the undercover agent, and Scott himself confirmed as much during his post-arrest interview.

       Scott’s messages explicitly detail his interest in abusing the purported six-year-old, and

they contain nude photographs that only further corroborate his intent. Among other things, Scott

sent the undercover agent images of his own genitalia to “validate” that Scott was a real person.

Gov’t. Detention Mem. at 7. In contrast to the implausible explanations that Scott provided to law

enforcement following his arrest, his encrypted messages show that he intended to sexually

abuse—rather than merely engage in fantasy play with—the child. It is true that Scott sent the

undercover agent a message that expressed an interest in role playing a doctor’s visit with the child,

but that message followed many others in which Scott made clear he had every intention of

sexually abusing the six-year old. Indeed, Scott stated that he had “seen [h]alf of that,” referencing

the child’s age of six. He added that he “had a few young sluts [he] groomed. But never been

lucky enough to play irl.” He also stated that he had recently molested an eight-year-old girl,

although he later told the agents that he was simply trying to ingratiate himself to the agent. See

Gov’t. Mot. for Review at 7 n.9. After sending these messages, Scott traveled from Maryland to

the District of Columbia to meet the undercover agent at a bar, with the understanding that they

would travel together to the agent’s home. When the agent told Scott at the bar that he needed to

get home to his six-year-old daughter, Scott acknowledged and followed the agent out of the bar.

       The encrypted messages and unrebutted government proffer, which strongly support the

elements of the charged offense, strongly favor detention.




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   3. The History and Characteristics of the Person

       The third factor—the history and characteristics of the defendant—is neutral. Some

considerations fall in Scott’s favor, such as the fact that Scott has no criminal history and has never

previously been arrested or detained. See Opp’n at 10–11. But the absence of criminal history

alone cannot rebut the statutory presumption of dangerousness where the surrounding

circumstances are so indicative of culpability. E.g., Breeden, 2015 WL 13310427, at *7 (defendant

with no criminal history detained for dangerousness); United States v. Beauchamp-Perez, 822 F.

Supp. 2d 7, 10 (D.D.C. 2011) (same).

       Other personal characteristics weigh in Scott’s favor. He is a college graduate who has no

history of drug or alcohol abuse. See Opp’n at 10–11. At the time of his arrest, he was employed

as an advocate working to prevent tenants from being evicted. Id. He also asserts ties to his

community and has a strong network of familial support, including his mother and stepfather who

have appeared in-person at multiple detention hearings.

       On the other hand, the statements that Scott made to the undercover agent in encrypted

messages are deeply troubling. As noted, he told the agent that he had molested an eight-year-old

girl during a game of hide-and-seek. Scott later contended during his custodial interview that this

story was merely a fantasy he made up to ingratiate himself with the agent. See Gov’t. Mot. for

Review at 7 n.9. Presumably, Scott would say the same with respect to other encrypted messages,

in which Scott indicated that he had seen girls “[h]alf of that” and that he “had a few young sluts

[he] groomed. But never been lucky enough to play irl.” Regardless, the Court finds his




                                                  11
explanation for the message about the eight-year-old girl as implausible as his other fantasy and

role playing explanations.

       On balance, the Court finds that Scott’s history and characteristics weigh neither in favor

nor against detention.

   4. The Nature and Seriousness of the Danger to the Community

       Finally, the nature and seriousness of the danger that would be posed to the community if

Scott were released cuts in favor of his continued detention. That Scott poses a danger to the

community is presumed under statute, see 18 U.S.C. § 3142(e)(3)(E), and should be factored into

the analysis even if some contrary evidence is presented, Ali, 793 F. Supp. 2d at 388. Scott’s

conduct reflects that he poses a danger to “a particularly vulnerable segment of the community:

children.” United States v. Hoppe, 2024 WL 1990452, at *3 (D.D.C. May 6, 2024) (citing United

States v. Burdette, 813 F. Supp. 2d 1, 4 (D.D.C. 2011)). Furthermore, the digital nature of Scott’s

crime poses heightened risks to community safety. As courts have recognized, the challenges in

preventing electronically-based child sex crimes are often “insurmountable,” “given the ubiquity

of internet-capable devices.” Dhavale, 2020 WL 1935544, at *5.

       The Court in no way questions the veracity and sincerity of Scott’s mother’s

representations to the Court that she will supervise Scott and report any known violation of the

conditions set by the Court. Instead, the Court questions the ability of any third-party custodian

to provide the round-the-clock monitoring necessary to ensure absence of “small [internet-

accessible] devices in [the] residence.” Hoppe, 2024 WL 1990452, at *6. It is admirable and a

testament to her relationship with her son that Scott’s mother is willing to stop her work entirely

and rent a second home 50 miles from D.C. to supervise him. At the same time, her seeming

receptivity to Scott’s fantasy and role playing explanations is concerning, see July 17, 2024




                                                12
Hearing Tr. at 43:11–18 (volunteering that her son has always been “imaginative” and “an artist”),

as is the fact that Scott was residing in his mother’s home at the time he took steps to commit the

charged offense, see United States v. Blackson, 2023 WL 2663034, at *1 (D.C. Cir. Mar. 28, 2023)

(defendant’s mother inadequate as a third-party custodian where “she was and has been part of

defendant’s support community that unsuccessfully kept him” from offending).

       Finally, while the Court recognizes that the proposed conditions are patterned after the

conditions set in Willis, a number of distinctions exist between Willis and this case. Unlike the

defendant in Willis, who was released to the custody of two retired parents at their home, Scott

would be released to his mother to keep an eye on him around the clock, with occasional support

from his stepfather. The Court appreciates that Scott’s family does not have the same financial

resources as the defendant in Willis to finance a full psychosexual review and sex offender therapy.

But unlike Scott, Willis himself proposed receiving treatment, while Scott has not affirmatively

proposed seeking help. See July 17, 2024 Hearing Tr. at 31:23–32:5. Moreover, in this case, the

Court is not convinced that any proposed release conditions could feasibly and effectively mitigate

Scott’s dangerousness to the community.

       For all of the above reasons, the Court finds that Scott poses a serious danger to the

community that cannot be reasonably mitigated by the proposed conditions of release.

                                          CONCLUSION

       Based on consideration of the record and the factors set forth in 18 U.S.C. § 3142(g), the

Court finds by clear and convincing evidence that “no condition or combination of conditions

will reasonably assure . . . the safety of . . . the community” if the defendant were to be released,

id. § 3142(e).




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      Accordingly, it is hereby

      ORDERED that the government’s Motion for Review of Release Order, Dkt. 12, is

GRANTED; and it is further

      ORDERED that the defendant is DETAINED pending trial.




                                                      ________________________
                                                      DABNEY L. FRIEDRICH
August 21, 2024                                       United States District Judge




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